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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION



UNITED STATES OF AMERICA



V.                                                 CRIMINAL CASE NO. 3:16-CR-00061 -001


ORLANDO R. PRECIADO,

                      Defendant.



                                             ORDER


        This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to the specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted bythe Magistrate Judge with the consent ofthe Defendant and counsel. It appearing

thatthe Magistrate Judge made full inquiry and findings pursuant to Rule 11; thatthe Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

        ORDERED that the reportand recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count ONE (1) of the Indictment.


                                                                   /s/
                                              Henry E. Hudson, United States District Judge


Date XL go
Richmond, V|^giniar
